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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION


                                                 §
 In re: Kia Hyundai Vehicle Theft                §
 Marketing, Sales Practices, and Products        §   MDL No. 3052
 Liability Litigation                            §
                                                 §


            BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO VACATE
                    CONDITIONAL TRANSFER ORDER (CTO-6)

       Pursuant to Rule 7.1(f) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation, Kia America, Inc. and Hyundai Motor America (together, “Defendants”)

respectfully submit this brief in support of their motion to vacate CTO-6 as to City of Columbus,

Ohio v. Kia America, Inc. et al., No. 2:23-cv-00654-SDM-EPD (S.D. Ohio) (“City of Columbus”).

                                       INTRODUCTION

       Nearly all of the actions currently pending in MDL No. 3052 (the “MDL Actions”) are

brought by individual consumers who allege that they bought or leased Kia and/or Hyundai

vehicles without certain anti-theft technology they claim should have been standard equipment,

and that Kia and Hyundai failed to disclose these facts to them (the “MDL Consumer Actions”).

The MDL Consumer Actions assert private claims under consumer-protection laws and warranty

theories, and seek damages primarily on the theory that alleged susceptibility to theft rendered the

vehicles less valuable than what plaintiffs paid. The vast majority of consumers in the purported

classes have experienced no theft (or attempted theft) and have vehicles that performed precisely

as expected and warranted; their cars’ ignition systems comply fully with comprehensive federal

anti-theft and safety regulations. The factual inquiries in these actions turn foremost on details

about each consumer’s purchase transaction—what the consumer was promised or could



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reasonably expect, and the alleged diminished value of the vehicles—which will require expert

discovery and potentially survey evidence not applicable or helpful in the City of Columbus matter.

        In addition to the MDL Consumer Actions, two governmental entities—the cities of

Cleveland and Cincinnati—recently filed suit against Kia and Hyundai in the Central District of

California (the “Cleveland and Cincinnati actions”), where Judge James V. Selna oversees MDL

No. 3052.1 Those actions have been transferred to Judge Selna as related cases. The Cleveland

and Cincinnati actions allege that the absence of anti-theft immobilizers in Kia and Hyundai cars

has led to a “public nuisance” of car theft in the plaintiff cities, causing those cities to suffer

damages in the form of governmental expenditures to address the alleged nuisance in Cleveland

and Cincinnati, and decreased tax revenues attributable to declines in property values in each of

those cities.

        Although not currently part of the MDL, the City of Seattle, on January 23, 2023, also filed

a public nuisance lawsuit against the Defendants (the “Seattle action”).2           While the Panel

conditionally transferred the Seattle action to Judge Selna, Defendants have moved to vacate that

transfer.

        The City of Columbus’s (the “City”) lawsuit fundamentally differs from the MDL

Consumer Actions that dominate MDL No. 3052, as well as from the Cincinnati and Cleveland

actions and the Seattle action. Unlike the individual, consumer plaintiffs in the MDL Consumer

Actions, the City does not purport to sue on behalf of disappointed car buyers. Instead, the City

asserts that Kia and Hyundai, not those who commit the thefts, or the social-media platforms’

publication of videos demonstrating how to commit those thefts, (1) are responsible for creating


1
  City of Cleveland v. Hyundai Motor Am., No. 8:23-cv-00419, Dkt. Nos. 1, 22 (C.D. Cal. Mar. 13, 2023);
City of Cincinnati v. Hyundai Motor Am., No. 2:23-cv-01750, Dkt. Nos. 1, 20 (C.D. Cal. Mar. 13, 2023).
2
  City of Seattle v. Hyundai Motor America, Inc., No. 2:23-cv-00098, Dkt. No. 1, (W.D. Wash. Jan. 23,
2023).
2
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and maintaining a “secondary market of unsafe and stolen vehicles,” which has caused a public

nuisance in Columbus; and (2) failed to exercise reasonable care to prevent this secondary market

in Columbus. The City also alleges that this purported public nuisance has resulted in increased

government costs in Columbus, which Hyundai and Kia should pay.

        The City’s novel and unsupported theory raises legal and factual issues that are different

in kind from those raised by the MDL Consumer Actions. For example, the City’s complaint

raises issues such as whether vehicle thefts in Columbus were proximately caused by Defendants’

conduct or by criminals spurred by social-media “challenges”; the extent to which any rise in theft

in Columbus has actually and unreasonably interfered with any “public right” or created a

“secondary market of unsafe and stolen vehicles” in the City; whether any increase in public

expenditures has occurred in Columbus, such as increased Columbus Police Department or

Emergency Services Bureau hiring, or increased expenditures investigating alleged thefts; and how

the City’s policing and prosecution policies have impacted auto theft. And while the Cleveland

and Cincinnati actions (and Seattle action) are superficially more similar to the City’s lawsuit

because they also generally assert public nuisance theories, 3 the factual issues are largely different:

a rise in thefts or government expenditures in Cleveland or Seattle, for instance, does not establish

a similar rise in Columbus, much less demonstrate that any rise was attributable to the actions of

Kia or Hyundai.

        These stark factual differences strongly militate against transfer of City of Columbus to

MDL No. 3052. Transfer is appropriate only where litigating common questions of fact would



3
  As discussed herein, while the City of Cleveland and City of Cincinnati also assert public nuisance and
related negligence claims, the basis for all of the City of Columbus’s claims is different than that of the
Cleveland and Cincinnati actions (and the Seattle action), i.e., that the Defendants created a “secondary
market of unsafe and stolen vehicles.” See infra at 12–13. And, the Seattle action is based on Washington
public nuisance law, not Ohio law or Columbus city codes, further distinguishing it and City of Columbus.
3
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promote the just and efficient conduct of the actions. Here, few common fact questions exist, and

the minimal benefits of MDL coordination would be vastly outweighed by the burdens of litigating

disparate legal claims and factual inquiries in parallel. No efficiencies will result from shoehorning

a case that presents complex empirical questions about purported secondary markets, crime and

vehicle theft rates, public policy, and government spending into an MDL focused chiefly on car

values and alleged consumer fraud. Nor are there substantial efficiencies to be gained from

aggregating City of Columbus with the Cleveland and Cincinnati actions (and/or the Seattle

action), each of which relies upon allegations specific and unique to the plaintiff jurisdictions (e.g.,

crime rates, vehicle thefts, and government spending in each of those separate jurisdictions), and

seeks different remedies. Doing so would divert judicial and party resources, potentially slowing

resolution of both litigations. Accordingly, the Panel should vacate CTO-6 in MDL No. 3052 as

to City of Columbus.

                                      FACTUAL BACKGROUND

          A.      MDL Consumer Actions

          On December 13, 2022, the Panel created MDL No. 3052 in the Central District of

California for suits by consumer plaintiffs who purchased or leased Kia and Hyundai branded

vehicles that lack certain anti-theft technology those plaintiffs allege should have been standard.

See In re Kia Hyundai Vehicle Theft Litig., 2022 WL 17843100, at *1 (J.P.M.L. Dec. 13, 2022).

The overwhelming majority of the actions pending in the MDL are putative consumer class

actions.4 They assert causes of action for consumer-protection violations, breach of warranty,

design defect, failure to warn, and unjust enrichment. 5 For example, the consumer plaintiffs’

consumer-protection claims allege that Kia and Hyundai made misrepresentations and omissions


4
    Joint Preliminary Report, No. 8:22-ml-03052 (C.D. Cal.), Dkt. No. 40 at 8.
5
    Id.
4
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to plaintiffs about their vehicles’ anti-theft technology that caused plaintiffs to overpay for their

vehicles.6 And the consumer plaintiffs’ negligence claims allege that Kia and Hyundai breached

a duty to warn plaintiffs of the alleged defect, which likewise allegedly caused plaintiffs to overpay

for their vehicles.7

        The consumer plaintiffs seek economic damages—such as reimbursement related to

diminution in car value, “the increase in insurance premiums [they] may face due to the design

defect,” or in the limited circumstances where applicable, vehicle theft—and an order “enjoining

the Defendants from selling the Defective Vehicles and ordering them to fix or replace the

vehicles.”8 Not a single plaintiff in the MDL Consumer Actions asserts a public nuisance claim. 9

        B.      The Cleveland and Cincinnati Actions

        In addition to the MDL Consumer Actions, two governmental entities—the cities of

Cleveland and Cincinnati, Ohio—recently filed suit against Kia and Hyundai in the Central District

of California.10 Their lawsuits allege that the absence of anti-theft immobilizers in Kia and

Hyundai cars led to a “public nuisance” of car theft in Cleveland, and in Cincinnati, respectively,

and breached a duty of care owed to each of those plaintiff cities. 11 They also allege that this

nuisance caused damages in the form of (1) increased governmental spending in each of Cleveland

and Cincinnati, respectively, including but not limited to “police, emergency, health, prosecutions,



6
  See, e.g., Slovak v. Kia Am., Inc., No. 3:22-cv-01432, Dkt. No. 3 ¶¶ 133–34 (N.D. Ohio Aug. 31, 2022).
7
  See, e.g., Beneman v. Kia Am., Inc., No. 8:23-cv-00103, Dkt. No. 1 ¶¶ 150–51 (D. Md. Jan. 13, 2023).
8
  See, e.g., Brady v. Kia Am., Inc., No. 4:22-cv-00252, Dkt. No. 1 ¶¶ 13, 49–51, 131, p. 32 (S.D. Iowa Aug.
4, 2022); Day v. Kia Am., Inc., No. 5:22-cv-00202, Dkt. No. 1 ¶¶ 13, 49–51, 121, p. 25 (E.D. Ky. Aug. 4,
2022); Moon v. Kia Am., Inc., No. 1:22-cv-07433, Dkt. No. 1 ¶¶ 15, 49–51, 66, 81, 91, p. 17 (S.D.N.Y.
Aug. 30, 2022).
9
  See, e.g., Brady, No. 4:22-cv-00252, Dkt. No. 1 ¶¶ 41–50; Day, No. 5:22-cv-00202, Dkt. No. 1 ¶¶ 49–50;
Moon, No. 1:22-cv-07433, Dkt. No. 1 ¶¶ 49–50.
10
   City of Cleveland v. Hyundai Motor Am., No. 8:23-cv-00419, Dkt. No. 1 (C.D. Cal. Mar. 7, 2023)
(“Cleveland Complaint”); City of Cincinnati v. Hyundai Motor Am., No. 2:23-cv-01750, Dkt. No. 1 (C.D.
Cal. Mar. 8, 2023) (“Cincinnati Complaint”).
11
   Cleveland Complaint, ¶ 59; Cincinnati Complaint, ¶ 57.
5
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corrections, youth rehabilitative services, and other services” to address the supposed nuisance;

and (2) decreased tax revenues in each of those cities attributable to declines in property values in

each city.12 The City of Cleveland and City of Cincinnati also claim that their cases “do[] not

concern a discrete event or discrete emergency of the sort a political subdivision would reasonably

expect to occur and is not part of the normal and expected costs of a local government’s

existence.”13 And, each claims to have “incurred expenditures for special programs over and above

its ordinary public services.”14 Both cities seek abatement, compensation for economic loss, and

injunctive relief.15

        On March 13, 2023, the Cleveland and Cincinnati actions were transferred to Judge Selna

as related cases.

        C.      The Seattle Action16

        The Seattle action alleges that Defendants’ failure to install immobilizers on their vehicles

between 2011 and 2021 caused a public nuisance that “interfer[es] with the public right to public

safety”; the “public’s right to safe and reasonable access to public thoroughfares”; and the “right

to a peaceful environment” in Seattle. 17 It also asserts that thefts in Seattle increased on the heels

of social media “‘how-to’ videos detailing how simple it was to steal susceptible Kias and

Hyundais,”18 and that those criminals often went on to commit other crimes, “as thieves often

engage in reckless driving, as well as other dangerous criminal conduct, including robbery and




12
   Cleveland Complaint, ¶¶ 86–87, 120, 124; Cincinnati Complaint ¶¶ 84–85, 102, 116, 120.
13
   Cleveland Complaint, ¶¶ 94, 123; Cincinnati Complaint, ¶¶ 91, 119.
14
   Cleveland Complaint, ¶¶ 94, 123; Cincinnati Complaint, ¶¶ 91, 119.
15
   Cleveland Complaint, ¶¶ 130–38; Cincinnati Complaint, ¶¶ 126–36.
16
   As discussed supra page 2, the Seattle action is not currently part of the MDL; therefore, the Panel should
not consider it in connection with this Motion. But, in any event, the distinguishing features between the
Seattle action and City of Columbus weigh in favoring of vacating CTO-6.
17
   City of Seattle v. Hyundai Motor America, Inc., No. 2:23-cv-00098, Dkt. No. 1, ¶¶ 6, 74–75, 79–80.
18
   Id. ¶ 19.
6
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firearm thefts.”19 The City of Seattle seeks “actual and compensatory damages,” consisting of the

costs associated with responding to the alleged increase in thefts in Seattle, “including additional

policing efforts and public outreach and education” in Seattle. 20 It also seeks an order of abatement

and “equitable relief to fund automobile theft prevention.” 21

        D.      The City of Columbus Lawsuit

        The City of Columbus’s lawsuit, filed February 15, 2023 against Kia America, Inc. and

Hyundai Motor America, alleges claims for public nuisance and negligence. 22 The City does not

allege that it was duped into purchasing or leasing Kia or Hyundai vehicles because of any alleged

misrepresentation, nor does it seek recovery for any alleged resulting decrease in the value of its

vehicles, as is at issue in the MDL Consumer Actions. Instead, the City alleges that Kia’s and

Hyundai’s sale of cars without immobilizers has become a public nuisance that “interfere[s] with

the rights of common Columbus residents, including the rights to public health, welfare, and

safety.”23 The City defines the “public nuisance” as the creation and maintenance of “the

conditions necessary for a large secondary market of unsafe and stolen cars.” 24 The City further

asserts that thefts have increased in Columbus on the heels of the “viral spread” on social media

of “the know-how to exploit the vehicles’ lack of security,” and that those criminals often used

stolen cars to “ram[] into buildings to gain entry and commit further criminal acts.” 25 All of the

City’s causes of action—whether sounding in public nuisance or negligence—seek to recover from


19
   Id. ¶ 27.
20
   Id. ¶¶ 83, 90.
21
   Id. ¶¶ 87, 89.
22
   City of Columbus v. Kia Am., Inc., No. 2:23-cv-00654, Dkt. No. 1 ¶¶ 89–120 (S.D. Ohio Feb. 15, 2023)
(“Compl.”). Four of the City’s five causes of action sound in public nuisance: “absolute public nuisance,”
“qualified public nuisance,” “statutory public nuisance” premised on alleged violations of Columbus’s City
Codes, and civil liability for alleged criminal public nuisance under the City Codes.
23
   Id. ¶¶ 90, 96.
24
   Id. ¶¶ 91,93–94, 97, 101–02, 112.
25
   Id. ¶ 69, 81.
7
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Kia and Hyundai the costs associated with responding to the alleged increase in thefts in Columbus,

“including substantial costs for law enforcement, prosecution, and emergency medical services”

as well as “documentation, investigation, vehicle recovery, and numerous other related expenses”

in Columbus.26 The City also seeks an order of abatement and “injunctive and equitable relief to

enjoin the further sale of unsafe vehicles and enforce corrective action to recall, repair, or replace

the unsafe vehicles.”27

                                           ARGUMENT

           Here, transfer is inappropriate because City of Columbus and the MDL Actions are based

on fundamentally different facts. City of Columbus has little in common with the MDL Consumer

Actions that make up the vast majority of MDL No. 3052, as it asserts different claims, raises

different theories, and requests different forms of relief. And while the Cleveland and Cincinnati

actions (as well as the Seattle action, which is not currently part of the MDL) are superficially

more similar, they too largely involve different facts from those in City of Columbus—facts

specific to those disparate jurisdictions—and seek different types of relief, and any minimal factual

overlap among the government cases is greatly outweighed by issues specific to each plaintiff’s

jurisdiction. Transferring City of Columbus to the MDL would divert MDL resources and require

the transferee court to oversee unique and burdensome discovery that is distinct from, irrelevant

to, and without any corresponding benefits to, the litigation currently in the MDL. In re AriZona

Beverage Co. Prods. Mktg. & Sales Pracs. Litig., 609 F. Supp. 2d 1369 (Mem) (J.P.M.L. 2009)

(denying centralization of three actions where any common factual questions were not

“sufficiently complex and/or numerous to justify” transfer).




26
     Id. ¶¶ 25, 73.
27
     Id. p. 21.
8
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        In addition, transferring City of Columbus into MDL No. 3052 would inject into the MDL

numerous unique public nuisance questions of fact not present in the Cleveland or Cincinnati

actions (or the Seattle action), and which are local in nature to Columbus. In re Gap, Inc., COVID-

19 Lease Payment Litig., 492 F. Supp. 3d 1345, 1346 (JPML 2020) (“centralization is not

necessary or appropriate” because any overlapping of factual questions and discovery would “be

limited and overshadowed by the many individual questions in each action relating to the unique

properties, leases, and negotiating parties at issue”); In re: Blue Cross Blue Shield Antitrust Litig.,

MDL 2406, Dkt. No. 424 at 1–2 (JPML Apr. 5, 2018).

        The MDL Consumer Actions, which make up the vast majority of the MDL, have little

factual overlap with Columbus’s claims. As the transferee court has explained, the rationale for

the MDL rests on purportedly common “factual questions surrounding the marketing, sale and

manufacture of these vehicles and defendants’ knowledge of the alleged defect.” 28 In re Kia, 2022

WL 17843100, at *1. The causes of action in the MDL Consumer Actions turn on the premise

that Kia and Hyundai failed to warn consumers of the fact that their vehicles did not come equipped

with certain anti-theft technology. The factual inquiries in these private consumer cases flow from

those theories, requiring discovery into, for example:

               Whether Defendants made alleged misrepresentations;

               Whether any plaintiffs were exposed to those alleged misrepresentations and relied

                on them;

               The designs of the various models and model year vehicles at issue;



28
  Defendants do not concede that the plaintiffs in the MDL Consumer Actions could meet the requirements
of Federal Rule of Civil Procedure 23 to certify a class and establish that each class action involves common
questions that can be resolved through common proof and predominate over individual issues, or that injury
or damages could be established on a classwide basis. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,
345–46 (2011); Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013).
9
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                  Whether and when Kia and Hyundai became aware of an alleged defect in each of

                   the models and model years at issue;

                  The applicability of any written warranties covering the various models and model

                   years at issue;

                  Whether any vehicles are covered by warranties and are still within the warranty

                   period;

                  Whether plaintiffs owned or leased vehicles that actually included immobilizers;

                  Whether plaintiffs’ vehicles were allegedly stolen, the circumstances surrounding

                   those thefts, and the varying alleged injuries from those individual thefts; and

                  Whether and to what extent each vehicle’s value has diminished by virtue of an

                   alleged defect.29

          Although City of Columbus also stems from the alleged susceptibility to theft of Hyundai

and Kia vehicles not equipped with immobilizers, the similarities end there. The City’s public

nuisance and negligence theories are not based on any purported misrepresentations or reliance in

purchasing decisions.        Rather, they purport to assert societal and governmental harms, not

individual economic loss. Consistent with that theory, the factual issues the City purports to put

at issue are by and large irrelevant to the MDL Consumer Actions:

                  Whether, and if so, by how much, thefts of Kia and Hyundai vehicles in Columbus

                   have risen;

                  When any such increase in theft began in Columbus;

                  Whether any such rise in thefts has unreasonably interfered with a “public right”

                   in Columbus;


29
     See Joint Preliminary Report, No. 8:22-ml-03052 (C.D. Cal.), Dkt. No. 40 at 13–14.
10
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                Whether the increase in thefts resulted in a “large secondary market of unsafe and

                 stolen vehicles” in Columbus;

                Whether the City has actually increased or reallocated any funds and law-

                 enforcement resources to address vehicle thefts, and if so, whether the City intends

                 to reduce funding for public safety and law enforcement if the alleged vehicle

                 thefts decrease;

                Whether Columbus has suffered any property damage as a result of the alleged

                 increase in thefts; and

                The propriety, feasibility, and requirements of any proposal by the City to abate

                 the supposed nuisance in Columbus.

        Even the transferee Court, counsel for consumer plaintiffs, and counsel for Seattle have

agreed that municipal governments’ claims are outliers. MDL Consumer Actions counsel have

already made clear that public nuisance claims brought by governmental entities are “meaningfully

distinct” from the MDL Consumer Actions, which seek to recover diminished-value damages on

behalf of classes of consumers. Joint Preliminary Report, No. 8:22-ml-03052 (C.D. Cal.), Dkt.

No. 40 at 6. Consequently, the “strategies are going to be different, the remedies are going to be

different, and the claims are different.” February 7, 2023 MDL Hearing Transcript (“MDL

Hearing Tr.”), No. 8:22-ml-03052, Dkt. No. 51 at 11:24-25.30 MDL Consumer Actions counsel

also knows that expert discovery will not overlap; the experts required to support governmental



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  See also MDL Hearing Tr., No. 8:22-ml-03052, Dkt. No. 51 at 9:15-18; 10:17-19 (Judge Selna noting
that the governmental-entity plaintiffs seek remedies beyond losses related to vehicle purchases—the only
type of remedies the MDL Consumer Actions seek); id. at 10:9-10, 14:17-19 (counsel for the City of Seattle
emphasizing that they are “seeking unique remedies” for their “unique causes of action” and that their
claims are “quite different from the consumer claims”); City of Seattle’s Response to Joint Preliminary
Report, No. 8:22-ml-03052, Dkt. No. 43 at 3 (emphasizing that the public nuisance “harms go far beyond
the consumer losses at issue in private plaintiffs’ claims”).
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plaintiffs’ broad claims under public nuisance and related theories “are not going to be hired by

the consumers” because the cases have “completely different theories, completely different

experts.” See MDL Hearing Tr., No. No. 8:22-ml-03052, Dkt. No. 51 at 15:21-25 (emphasis

added).

          Similarly, despite superficial similarities, the City’s lawsuit raises largely different factual

issues from those in the Cleveland and Cincinnati actions (and the Seattle action). Specifically,

the City alleges a spike in theft of Kia and Hyundai vehicles in Columbus, a “secondary market of

unsafe and stolen vehicles” in Columbus, increased government spending by Columbus, and an

injury to the public rights of the residents of Columbus. Likewise, the Cleveland and Cincinnati

actions (and the Seattle action) allege a crime wave, increased government spending, and public

injury in Cleveland, Cincinnati, and Seattle. Discovery into the plaintiffs’ theories will focus

heavily on facts specific to each locality. And whatever minimal factual overlap exists among

these few governmental cases does not outweigh the obvious differences. See, e.g., In re AriZona

Beverage Co., 609 F. Supp. 2d at 1369 (declining to centralize three actions where common factual

questions were not “sufficiently complex and/or numerous to justify” transfer); In re: Tyson Foods,

Inc., Meat Processing Facilities Fair Lab. Standards Act (FLSA) Litig., 581 F. Supp. 2d 1374,

1375 (J.P.M.L. 2008) (same).

          The complex discovery that would be necessary were City of Columbus to proceed beyond

dispositive motions—including significant discovery from the City—would offer no benefits to

the MDL Consumer Actions, the Cleveland and Cincinnati actions, or the Seattle action, but only

divert resources and attention from them. For example, they have no need for discovery into the

City of Columbus’s allegations regarding (1) a “secondary market of unsafe and stolen vehicles,”

(2) the City’s police staffing or funding, or (3) the amount of time the Columbus Police Department



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spends investigating vehicle thefts. Consequently, transferring this case “could significantly

complicate the efficient management of this already complex litigation.”              In re Epipen

(Epinephrine Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., MDL No. 2785, Dkt. No. 111

at 3 (J.P.M.L. Dec. 5, 2017).

       Meanwhile, there are no corresponding benefits to transfer. To the extent overlapping

discovery does arise over a discrete issue, such as vehicle design, “informal coordination of such

discovery by the parties and the involved courts is both practicable and preferable to transfer.” See

In re: Blue Cross Blue Shield Antitrust Litig., MDL 2406, Dkt. No. 424 at 2. On such discrete

issues, the parties could informally coordinate discovery, cross-notice depositions as needed, and

even stipulate to the use of certain discovery in both the MDL Actions and City of Columbus. But

minor overlaps in discovery do not merit joining a case brought by a government entity—asserting

“completely different theories” to those asserted by consumers—to an MDL dominated by

consumer actions. And while the Cleveland and Cincinnati actions raise legally similar but

factually distinct theories, the above-discussed “alternatives to transfer” are more than sufficient

to “minimize whatever possibilities there might be of duplicative discovery and/or inconsistent

pretrial rulings,” particularly given the small number of governmental actions. See, e.g., In re

AriZona Beverage Co., 609 F. Supp. 2d at 1369 (finding “[a]lternatives to transfer” sufficient and

denying centralization of three actions); In re: Tyson Foods, Inc., 581 F. Supp. 2d at 1375 (same).

Nor does the possibility of additional governmental actions (e.g., the Seattle action) affect the

analysis, because the Panel generally does not “take into account the mere possibility of future

filings in our centralization calculus.” See In re Gap, Inc., COVID-19 Lease Payment Litig., 492

F. Supp. 3d at 1347 (denying centralization) (quoting In re Lipitor (Atorvastatin Calcium) Mktg.,

Sales Pracs. & Prods. Liab. Litig., 959 F. Supp. 2d 1375, 1376 (J.P.M.L. 2013)).



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                                      CONCLUSION

       For the foregoing reasons, the Panel should vacate CTO-6 as to City of Columbus v. Kia

America, Inc. et al., No. 2:23-cv-00654-SDM-EPD (S.D. Ohio).




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Dated: March 20, 2023                   Respectfully submitted,

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